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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA

11

12 UNITED STATES OF AMERICA                 No. CR 22-09-SB

13                                          [PROPOSED] ORDER GRANTING
                Plaintiff,                  STIPULATION TO CONTINUE
14                                          SENTENCING HEARING

15        v.

16 THOMAS H. PETERS

17
                Defendant.
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 1     [PROPOSED] ORDER GRANTING STIPULATION TO CONTINUE SENTENCING

 2                                      HEARING

 3        The   Court   having   considered     the   parties’   Stipulation   to

 4 Continue Sentencing Hearing, and finding good cause therefore:

 5        IT    IS   HEREBY   ORDERED   THAT    Defendant   Thomas   H.   Peters’

 6 sentencing hearing is continued from February 27, 2023, at 8 a.m.,

 7 to May 9, 2023, at 8 a.m.

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 9   IT IS SO ORDERED.
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11 Dated:                                      _____________________________
                                               Hon. Stanley Blumenfeld, Jr.
12                                             United States District Judge
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